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                             UNITED STATES DISTRICT COURT
   14
   15                      CENTRAL DISTRICT OF CALIFORNIA
   16
                                               Case No. 2:22-CV-3846-PA
   17    SHOSH YONAY, an individual, and       Assigned to: Hon. Percy Anderson
         YUVAL YONAY, an individual,
   18
                                               PLAINTIFFS’ OPPOSITION TO
   19                      Plaintiffs,         DEFENDANT’S MOTION TO
                                               DISMISS PLAINTIFFS’ FIRST
   20
              v.                               AMENDED COMPLAINT
   21
         PARAMOUNT PICTURES                    [Filed with: Plaintiffs’ Opposition
   22
         CORPORATION, a Delaware               to Request for Judicial Notice;
   23    corporation, and DOES 1-10,           Declaration of Marc Toberoff;
                                               [Proposed] Order]
   24
                           Defendants.
   25                                          Hearing Date: November 7, 2022
                                               Hearing Time: 1:30 P.M.
   26
                                               Ctrm: 9A
   27                                          Complaint Filed: June 6, 2022
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    1   I.   INTRODUCTION
    2        Ehud Yonay’s (“Yonay”) 1983 story “Top Guns” (“Story”) was
    3 unquestionably the genesis of the highly successful film Top Gun (1986) (the

    4 “Film”) and thus its blockbuster sequel Top Gun: Maverick (2022) (“Sequel”).
    5 Defendant Paramount Pictures Corporation (“PPC”)—which recognized the
    6 originality of Yonay’s compelling cinematic Story and swiftly locked up
    7 exclusive film rights to it in a 1983 contract—has made more than a billion
    8 dollars from the Top Gun franchise. On January 24, 2020, Yonay’s widow and
    9 son, Shosh and Yuval Yonay (“Plaintiffs”), duly recovered the Story’s U.S.
   10 copyright under the Copyright Act’s termination provisions, consistent with their
   11 legislative purpose. Yet PPC, with full knowledge that it no longer held U.S.
   12 film rights in the Story, steamrolled ahead with its Sequel, thumbing its nose at
   13 the Act. Indeed, despite the Sequel’s enormous production budget, PPC made no
   14 effort to obtain a renewed license to the Story, as contemplated by the Act.
   15        Instead, PPC’s Motion to Dismiss (“Motion”) Plaintiffs’ First Amended
   16 Complaint (“FAC”) is a study in revisionist history. PPC obtusely denies that its
   17 franchise was derived from Yonay’s Story, all while ignoring the obvious
   18 similarities between the Sequel and Story from which the franchise is derived.
   19 The Motion improperly ventures far beyond the FAC, strains to craft around the

   20 Act and PPC’s need to renew its copyright license by hand-waving away the
   21 Story’s protectable expression. PPC’s disingenuous ploy to reduce Yonay’s
   22 original Story to a phonebook of “unprotectable facts” contradicts the very
   23 position it took for decades, after securing and exploiting exclusive film rights to
   24 the Story and crediting Yonay’s Story on the Film. But now that the U.S.
   25 copyright has reverted to Plaintiffs, PPC pretends that the Story was just a bunch
   26 of facts, and that its derivative Sequel, which closely incorporated the Film on
   27 which Yonay was credited, had absolutely nothing to do with the Story. PPC’s
   28 convenient arguments ignore the numerous creative choices Yonay made in
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    1 crafting his cinematic portrayal, which breathed life into the technical humdrum
    2 of a naval air base, birthing PPC’s billion-dollar franchise.
    3         PPC’s Motion distorts the Ninth Circuit’s framework for evaluating
    4 copyright infringement. It also ignores this Circuit’s increasing recognition that
    5 non-frivolous cases like this must not be prematurely dismissed without the
    6 benefit of a fully developed record, including the vital input of literary experts,
    7 more qualified to parse through themes, plots, metaphors, story structures,
    8 pacing, and sequencing. Given the copious similarities between the Story and
    9 Sequel, the undeveloped posture of this case and PPC’s bad faith disavowal of
   10 the 1983 grant it rushed to secure, its Motion must be denied.
   11   II.   STATEMENT OF FACTS
   12         The original Story written by Yonay was published on April 21, 1983.
   13 FAC (Dkt. 16) ¶ 21. The Story centered around two pilots at a Naval Air Station
   14 bootcamp called “Top Gun.” Id. ¶ 22. In the subjective “New Journalism”
   15 literary style, Yonay created an engaging cinematic portrayal of the base from

   16 the point of view of the pilots by artfully curating vivid portrayals of their
   17 personalities, relationships, and experiences. Id. ¶¶ 21-22. Mere weeks after the
   18 Story’s publication, PPC secured exclusive film rights to it from Yonay in an
   19 agreement dated May 18, 1983 (id., Ex. 2) (“Agreement”). The Agreement,

   20 drafted by PPC, references the Story’s copyright throughout. FAC ¶ 35, Ex. 2 at
   21 6-8, 11-13. PPC now refers to Yonay’s creative work as a mere “Article” of
   22 typed-up facts, but PPC’s Agreement referred to it as a “wholly original,”
   23 “published story.” Id. ¶ 24, Ex. 2 at 3, 6, 11-12. PPC’s Film used extensive
   24 details of the Story including characters’ traits, the mood, pace, setting, and
   25 themes, and thus credited Yonay’s Story. Id. ¶ 49.
   26         On January 23, 2018, the Yonays availed themselves of their rights under
   27 17 U.S.C. § 203(a) (“Section 203”) by terminating the 1983 copyright grant to
   28 the Story, effective January 24, 2020, and as of said date, Plaintiffs solely own
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    1 the U.S. copyright to the Story. Id. ¶¶ 3, 29. Ignored by PPC, Plaintiffs sent it a
    2 cease and desist letter as to its Sequel. Id. ¶ 40. In response, PPC denied the
    3 Sequel’s clear derivation from the Story, and released it on May 27, 2022. Id. ¶¶

    4 1, 40. The Sequel, referred to as a “legacy sequel,” closely follows the Film,1
    5 and was hugely successful. Id. ¶¶ 26, 34. But, unlike the Film, the Sequel
    6 conspicuously failed to give Yonay credit. Id. ¶ 52. Considering that PPC raced
    7 to lock up film rights to the Story, that the Film credited Yonay, that the Sequel
    8 closely tracks the Film, and that the Story, Film and Sequel thus unsurprisingly
    9 share clear similarities, PPC’s Motion must be denied.
   10 III.       LEGAL STANDARD
   11            Federal Rule of Civil Procedure 8(a) requires a plaintiff to “give the
   12 defendant fair notice of what the … claim is” and the allegations must simply
   13 present a claim that is “plausible on its face.” Bell Atl. Corp. v. Twombly, 550
   14 U.S. 544, 555-57 (2007). Thus, as this Court has recognized, “[t]he Ninth Circuit
   15 is particularly hostile to motions to dismiss under Rule 12(b)(6).” Jones v.

   16 Twentieth Century Studios, 2021 WL 6752228, at *2 (C.D. Cal. Dec. 7, 2021)
   17 (Anderson, J.) (citing Gilligan v. Jamco Dev. Corp., 108 F.3d 246, 248-49 (9th
   18 Cir. 1997) (“The Rule 8 standard contains a powerful presumption against
   19 rejecting pleadings for failure to state a claim.”)). To survive a Rule 12(b)(6)

   20 motion, plaintiffs “are generally required to give only ‘a short and plain
   21 statement of the claim showing that the pleader is entitled to relief’[,]”and
   22 “[w]hile the Federal Rules allow a court to dismiss a cause of action for ‘failure
   23 to state a claim,’ they also require all pleadings to be ‘construed so as to do
   24 justice.’” Id. (citing Fed. R. Civ. P. 12(b)(6), 8(e)). Thus, “[w]hen there are well-
   25 pleaded factual allegations, a court should assume their veracity and then
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            The Sequel contains flashbacks to the Film, follows the same central characters, takes
   27 place in the same setting, provides a similar portrayal of aerial combat training
        including exact stunts, training exercises, and customs described in the Story, and
   28 explores similar themes as the Story and Film. FAC ¶ 35, Ex. 1. The Sequel even
        credits the same producer and writers as the Film. Id. ¶ 33.
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    1 determine whether they plausibly give rise to an entitlement to relief[,]” id.
    2 (quoting Ashcroft v. Iqbal, 556 U.S. 662, 679 (2009)), and, in so doing, must
    3 construe “all facts and inferences in the light most favorable to the nonmoving

    4 party.” Marder v. Lopez, 450 F.3d 445, 448 (9th Cir. 2006).
    5 IV.     ARGUMENT
    6         A.    “Substantial Similarity” Should Not be Decided on a Motion to
                    Dismiss In Plausible Cases Like This.
    7
    8         PPC’s Motion conspicuously omits binding Ninth Circuit precedent and
    9 other caselaw, including that of this Court, which in recent years has curbed the
   10 ability of defendants to prematurely dismiss plausible copyright infringement
   11 claims, and have counseled against deciding “substantial similarity” without the
   12 benefits of a developed record and expert testimony.
   13         To allege a claim for copyright infringement, a plaintiff “must plausibly
   14 allege substantial similarity between the two works.” Zindel v. Fox Searchlight
   15 Pictures, Inc., 815 Fed. Appx. 158, 159 (9th Cir. 2020). The Ninth Circuit has

   16 made clear that a district court errs “by dismissing the action [when], at [the
   17 motion to dismiss] stage, reasonable minds could differ on whether there is
   18 substantial similarity ... [and] additional evidence, including expert testimony,
   19 would aid in the objective literary analysis needed to determine the extent and

   20 qualitive importance of the similarities.” Zindel, 815 Fed. Appx. at 160; see also
   21 Alfred v. Walt Disney Co., 821 Fed. Appx. 727, 729 (9th Cir. 2020) (reversing
   22 district court’s dismissal as “expert testimony would aid in determining whether
   23 the similarities Plaintiffs identify are qualitatively significant.”). The Ninth
   24 Circuit has long recognized that the “extrinsic test [for substantial similarity]
   25 requires analytical dissection of a work and expert testimony.” Swirsky v. Carey,
   26 376 F.3d 841, 845 (9th Cir. 2004) (emphasis added) (citing Three Boys Music
   27 Corp. v. Bolton, 212 F.3d 477, 485 (9th Cir. 2000)); Rice v. Fox Broadcasting
   28 Co., 330 F.3d 1170, 1179 (9th Cir. 2003) (same). Indeed, even “‘[s]ummary
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    1 judgment is ‘not highly favored’ on questions of substantial similarity’” and
    2 courts must be “cautious” before dismissing for lack of substantial similarity.
    3 Zindel, 815 Fed. Appx. at 159 (quoting L.A. Printex Indus., Inc. v. Aeropostale,

    4 Inc., 676 F.3d 841, 848 (9th Cir. 2012); Unicolors, Inc. v. Urban Outfitters, Inc.,
    5 853 F.3d 980, 985 (9th Cir. 2017) (As “substantial similarity is usually an
    6 extremely close issue of fact ... summary judgment has been disfavored.”).
    7        In the wake of these important decisions, district courts in the Ninth
    8 Circuit, including this Court, have been rightly disinclined to grant defendants’
    9 motions to dismiss which ask the court to decide “substantial similarity” without
   10 affording plaintiff the opportunity to take discovery, present evidence, or
   11 introduce expert testimony. See e.g., Summit Kaiju LLC v. Legend Pictures,
   12 LLC, 2022 WL 2235460, at * 5 (C.D. Cal. Apr. 12, 2022) (Anderson, J.)
   13 (quoting Zindel and Alfred and denying defendant’s motion to dismiss because
   14 “Plaintiff sufficiently pleaded substantial similarity” “which may be fleshed out
   15 through expert evidence.”); Segal v. Segel, 2022 WL 198699, at *13 (S.D. Cal.

   16 Jan. 21, 2022) (denying motion to dismiss: “Because analytical dissection and
   17 substantial similarity between protected elements of works are ‘usually
   18 extremely close issue[s] of fact,’ the Ninth Circuit disfavors dismissals on the
   19 ground of substantial similarity at the Rule 12(b)(6) stage.”) (quoting Zindel,

   20 815 Fed. Appx. at 159). See also Smith v. AMC Networks, Inc., 2019 WL
   21 402360, at *4-6 (N.D. Cal. Jan. 31, 2019) (declining to apply extrinsic test until
   22 further factual development of the record, including expert testimony: “most
   23 prudent course of action is to follow Ninth Circuit precedent which clearly states
   24 that ‘[t]he extrinsic test requires expert testimony’”) (quoting Swirsky, 376 F.3d
   25 at 845); Cabell v. Zorro Prods., Inc., 2017 WL 2335597, at *8 (N.D. Cal. May
   26 30, 2017) (denying motion to dismiss because the “case lacks the kind of
   27 comprehensive factual record and undisputed facts that would allow the court to
   28 apply the ‘extrinsic test’ at this stage.”); Green v. Metro-Goldwyn-Mayer
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    1 Studios, Inc., 2008 WL 11338272, at *3 (C.D. Cal. Nov. 24, 2008) (Anderson,
    2 J.) (expert evidence that extrinsic elements of screenplay and film were
    3 substantially similar “create[d] a genuine issue of fact”).

    4        Here, the FAC sufficiently alleges substantially similarity to survive a
    5 motion to dismiss. FAC, Ex. 1. The Motion must be denied to allow Plaintiffs to
    6 develop the record and submit expert evidence before a decision on the merits
    7 can be made. Zindel, 815 Fed. Appx. at 160; Alfred, 821 Fed. Appx. at 729.
    8        B.     The Motion Goes Far Beyond the “Four Corners” of the FAC.
    9        As an initial matter, PPC’s Motion overreaches far beyond the FAC.
   10 Replete with extrinsic “evidence,” PPC improperly litigates issues of fact under
   11 the guise of Rule 12(b)(6). However, motions to dismiss are generally limited to
   12 “the four corners of the complaint” and documents referenced therein that are
   13 properly before the court. See Jackson v. Cap. Mgmt. Servs., LP, 2014 WL
   14 12601055, at *1 (C.D. Cal. June 18, 2014). As stated by this Court, “information
   15 outside the pleadings would convert [] Motions to Dismiss into motions for

   16 summary judgment.” Soderstrom v. Orange Cnty. Dist. Atty., 2009 WL
   17 3805647, at *1 (C.D. Cal. Nov. 12, 2009) (Anderson, J.) (citing Swedberq v.
   18 Marotzke, 339 F.3d 1139, 1142-43 (9th Cir. 2003)); see Fed. R. Civ. P. 12(d)
   19 (“If, on a motion under Rule 12(b)(6) or 12(c), matters outside the pleadings are

   20 presented to and not excluded by the court, the motion must be treated as one for
   21 summary judgment under Rule 56. All parties must be given a reasonable
   22 opportunity to present all the material that is pertinent to the motion”).
   23        The Motion’s substantial similarity analysis is so utterly dependent on
   24 extrinsic evidence that it must be denied as a premature motion for summary
   25 judgement. See Plaintiffs’ Objections to PPC’s Request for Judicial Notice (Dkt.
   26 21-3). In this regard, Smith, 2019 WL 402630, is instructive.:
   27       [W]hat Defendants essentially seek is summary judgment because they
            stray beyond the four corners of the complaint and into factual disputes
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            over the similarities and differences between Dead Ahead and Fear the
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    1
            Walking Dead, including whether certain elements of Dead Ahead are
            protectable under copyright law. Moreover, AMC Defendants’ request
    2       for judicial notice that certain concepts are generic further demonstrates
    3
            that Defendants’ motions are essentially motions for summary judgment.

    4 Id. at 6. Here, as in Smith, the Motion is styled as a 12(b)(6) motion, while
    5 shoehorning in a host of extrinsic evidence to purportedly show that elements
    6 are “facts” or generic, thereby converting it to a premature summary judgment
    7 motion that must be denied. Id.
    8         C.    The FAC More than Sufficiently Alleges Substantial Similarity.
    9               1.     Because the “Extrinsic Test” Analyzes Objective Literary
                           Criteria, It Is Often Difficult to Apply at the Pleading Stage.
   10
   11         “In assessing whether particular works are substantially similar ... [the
   12 Ninth] Circuit applies a two-part analysis: the extrinsic test and the intrinsic
   13 test.” Unicolors, 853 F.3d at 985. “The extrinsic test requires plaintiffs to show
   14 overlap of ‘concrete elements based on objective criteria,’” while “the intrinsic
   15 test is subjective and asks whether the ordinary, reasonable person would find

   16 the total concept and feel of the works to be substantially similar.” Id. “The
   17 intrinsic test is reserved exclusively for the trier of fact.” Williams v. Gaye, 895
   18 F.3d 1106, 1119 (9th Cir. 2018). In conducting the extrinsic test, a court must
   19 objectively analyze the works’ similarities in plot, themes, dialogue, mood,

   20 setting, pace, characters, sequence of events and other literary elements. Metcalf
   21 v. Bochco, 294 F.3d 1069, 1073 (9th Cir. 2002). Thus, the Ninth Circuit has
   22 consistently recognized the “extrinsic test requires ... expert testimony.” Swirsky,
   23 376 F.3d at 845; see Section IV(A), supra. This is especially true when, as here,
   24 a court must compare dramatic works in different media, where the comparative
   25 meaning, interplay and dramatic impact of creative expression is even more
   26 difficult to assess. See Twentieth-Century Fox Film Corp. v. Stonesifer, 140 F.2d
   27 579, 583 (9th Cir. 1944) (noting, in finding infringement, that the dissimilarities
   28 between the film and play result “principally from the film’s enlarged means” of
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    1 “express[ion]”); Castle Rock Entm’t, Inc. v. Carol Pub. Grp, Inc., 150 F.3d 132,
    2 140 (2d Cir. 1998) (“different genres” do not negate infringement).
    3          The focus of the extrinsic analysis is on shared aspects—not on things the
    4 defendant chose to add—and similarities are not required as to all the objective
    5 criteria. Shaw v. Lindheim, 919 F.2d 1353, 1357-61 (9th Cir. 1990) (finding on
    6 summary judgment genuine issues as to substantial similarity of certain criteria
    7 but not others); Cabell, 2017 WL 2335597, at *8 (denying motion to dismiss
    8 where “[p]laintiff has alleged sufficient facts to support” infringement of
    9 musical based on just four factors). Here, the FAC enumerates a non-exhaustive
   10 list of literally dozens of overt similarities between the works. FAC, Ex. 1. As
   11 further addressed in Section IV(C)(4) below, the works employ similar character
   12 traits, pacing, setting details, tone, sequencing, plot devices and themes. Id. As
   13 these similarities are more than “de minimis,” the extrinsic test implicates issues
   14 of fact on which reasonable minds may differ. Alfred, 821 Fed. Appx. at 729.
   15          The question of substantial similarity is generally for the jury, unless “no
   16 reasonable juror could find that Defendants’ [work] is substantially similar” to
   17 the Plaintiff’s. L.A.Printex, 676 F.3d at 851 (given similarities and differences,
   18 “there is a genuine dispute of material fact on substantial similarity”); Swirsky,
   19 376 F.3d at 844 (Court may decide only if “no reasonable juror could find

   20 substantial similarity of ideas and expression[.]”); Wilson v. The Walt Disney
   21 Company, 2014 WL 4477391, at *1 (N.D. Cal. July 30, 2014).2 This rule is
   22 necessary because “[d]eterminations of substantial similarity of expression are
   23 subtle and complex” and jury input on a developed recorded is often needed to
   24 fairly make such decisions. Baxter v. MCA, Inc., 812 F.2d 421, 424-25 (9th Cir.
   25 1987). Where “reasonable minds could differ as to … substantially similar[ity],”
   26 judgment cannot be granted as a matter of law. Id.; see Twentieth Century-Fox
   27 Film Corp. v. MCA, Inc., 715 F.2d 1327, 1329 n.6 (9th Cir. 1983) (“substantial
   28   2
          This is the same stringent standard that restricts the authority of courts to render
        judgment notwithstanding the verdict under Fed. R. Civ. P. 50.
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    1 similarity is usually an extremely close question of fact;” denying summary
    2 judgment because “reasonable minds could differ”); Unicolors, Inc. v. H&M
    3 Hennes & Mauritz LP, 2016 WL 10646311, at *4 (C.D. Cal. Aug. 12, 2016)

    4 (“reasonable minds might answer differently th[is] touchstone question”).
    5               2.    Yonay’s Copyrighted Story Unquestionably Comprises
                          Protectable Expression.
    6
    7        The Story, while incorporating some factual elements, is predominantly
    8 the original subjective expression of Yonay. Indeed, the Story was valuable to
    9 PPC precisely because of its unique expression. It goes without question that
   10 PPC would not have rushed to exclusively license and pay for the Story if it
   11 were simply a compilation of facts in the public domain. See FAC ¶¶ 22-23.
   12 Contrary to PPC’s about-face here, per the terms of the Agreement it drafted,
   13 PPC has long referred to and considered Yonay’s work an expressive “story.” Id.
   14 ¶ 24, Ex. 2. In fact, PPC’s Agreement repeatedly acknowledged Yonay’s
   15 “copyright,” ensured that the Story is “wholly original with the Author,” and

   16 even insisted that PPC be appointed Yonay’s attorney in-fact to secure copyright
   17 extensions for the Story. Id. ¶ 24. All of this was for PPC’s exclusive benefit,
   18 preventing competing studios from exploiting the Story, while PPC proceeded to
   19 do so in the Film and its Sequel. Yet, upon losing the Story, PPC flip-flopped

   20 and renounced its long-held legal position from which it benefitted for decades.
   21        PPC’s Motion focuses myopically on only the factual aspects underlying
   22 the Story without addressing Yonay’s creative expression of them, which is what
   23 copyright is all about. Instead, PPC nihilistically equates Yonay’s evocative,
   24 cinematic Story to a dull Senate Report, for which it improperly seeks judicial
   25 notice. See Dkt. 21-3, § II(D). To illustrate the significant expression Yonay
   26 contributed to animate the humdrum of a dry regimented naval facility, Plaintiffs
   27 added a “fact” column to the FAC’s Chart of Similarities (Dkt. 16-1). See
   28 Declaration of Marc Toberoff, Ex. 1 (Dkt. 21-2) (“Chart”). The Chart compares
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    1 the unadorned purported “fact” with the Story’s literary expression thereof, and
    2 its qualitative importance to the Story and Sequel. Needless to say, if PPC were
    3 only interested in the facts of the Naval Air Station, it would have drawn

    4 inspiration for its blockbuster franchise from the Senate Report. But of course,
    5 that contains none of the expressive imagery, startling action, character traits,
    6 motivations, or themes so important to the Story, derivative Film and Sequel.
    7 Afterall, only Yonay’s compelling cinematic Story, not the Senate Report nor
    8 any other dull factual recitation, is credited by PPC as having inspired the
    9 original Top Gun film on which the Sequel so heavily relies. FAC ¶ 2.
   10         Moreover, copyright estoppel—the doctrine which estops an author who
   11 has expressly represented her work to be entirely factual from later proving it is
   12 fictional—does not apply here. 4 Nimmer on Copyright (“Nimmer”) § 2.11[C]
   13 (2022). Indeed, its application is far less tidy than PPC represents. Mot. at 10-11.
   14 For instance, courts treat historical works and biographies differently than
   15 traditional factual news articles3 where the author need not specifically represent

   16 that she reports “facts.” Nimmer § 2.11[C]. A history or biography is different
   17 because it is understood that authors take greater creative license to fictionalize
   18 history and create compelling characters out of people to convey a specific
   19 “flavor of the period or person depicted,” id., just as Yonay obviously did in his

   20 Story. In such cases, only an author’s express representation that the entire work
   21 is factual will permit the invocation of copyright estoppel. Nimmer § 2.11[C].
   22 Indeed, for this reason the Ninth Circuit renamed “copyright estoppel” the
   23 “asserted truths” doctrine.4 Here, the Story, as PPC acknowledges, is in part, a
   24 vivid portrayal of Top Gun’s history and extensively characterizes selected
   25 students and instructors in a very literary fashion. Mot. at 19-20. Nowhere does
   26   3
        After decades of referring to Yonay’s Story as a “story,” FAC, Ex. 2, PPC now
      conveniently mischaracterizes it as a mere “news article,” but such categorization, is
   27 itself, a factual issue not properly decided on a motion to dismiss.
      4
        Corbello v. Valli, 974 F.3d 965, 979 (9th Cir. 2020) (“[W]e will refer to this rule of
   28 copyright law as the “asserted truths” doctrine, because it is the author’s assertions
      within and concerning the work that … trigger its application.”) (emphasis added).
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    1 its author assert it is completely factual, and, in any event, this is not properly
    2 decided on a motion to dismiss, when all inferences are to be drawn in Plaintiffs’
    3 favor. Marder, 450 F.3d at 448. Further, were the doctrine to apply, it would not

    4 reduce the copyright protection afforded the Story’s cinematic expression of any
    5 purported facts nor the protection of Yonay’s selection and arrangement of those
    6 facts. See Corbello, 974 F.3d at 972; De Acosta v. Brown, 146 F.2d 408, 410 (2d
    7 Cir. 1944) (“original treatment of…historic character … entitled to protection”).
    8         PPC’s Motion further takes for granted that the Story contains scènes à
    9 faire and stock elements5 simply because flying scenes and jocular hotshots may
   10 be common to the genre today. PPC assumes too much. Proper analysis requires
   11 the fact-finder to revisit 1983, when Yonay wrote his Story, and before the 1986
   12 Film popularized the Story’s elements, to understand what the scènes à faire and
   13 stock elements of naval action literature were at that time. The iconic stature and
   14 ubiquity of the Film, which used the underlying Story, popularized its original
   15 elements which later became staples of the genre. To judge the originality of

   16 Yonay’s Story, expert evidence would be needed to show the progression of the
   17 genres in film and literature and to help assess which, if anything that PPC
   18 claims in retrospect are “stock elements,” were common before 1983. The need
   19 for such evidence underscores the impropriety of a decision at this early stage.

   20 See Rentmeester v. Nike, Inc., 883 F.3d 1111, 1123 (9th Cir. 2018) (To grant a
   21 motion to dismiss, it must be true that “[n]othing disclosed during discovery
   22 could alter the fact that the allegedly infringing works are as a matter of law not
   23 substantially similar.”); accord Zindel, 815 Fed. Appx. at 160.
   24         On this basis, the Ninth Circuit, in Alfred, reversed a district court’s grant
   25   5
        “Scènes à faire” is far more narrowly defined than the Motion suggests, entailing
      only expressions that “are as a practical matter indispensable” Hoehling v. Universal
   26 City Studios, Inc., 618 F.2d 972, 979 (2d Cir. 1980); Nimmer § 13.03[B][4] (scènes à
      faire are “scenes which ‘must’ be done”); Ets-Hokin v. Skyy Spirits, Inc., 225 F.3d
   27 1068, 1082 (9th Cir. 2000) (similarities cannot be disregarded as scènes à faire unless
      they meet narrow exclusion for “indispensable” “stock” elements); “Scènes à faire”
   28 encompass only the most generalized stock scenes or characters that lack original
      expression. Berkic v. Chrichton, 761 F.2d 1289, 1294 (9th Cir. 1985).
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    1 of a motion to dismiss. 821 Fed. Appx. at 729. The lower court “dismissed the
    2 action largely because it concluded that many of the elements the two works
    3 share are unprotected generic, pirate-movie tropes.” Id. The Ninth Circuit ruled:

    4      [E]xpert testimony would aid in determining whether the similarity
           Plaintiffs identify are qualitatively significant. This would be particularly
    5      useful in this circumstance, where the works in question are almost twenty
           years old and the blockbuster Pirates of the Caribbean film franchise may
    6      itself have shaped what are now considered pirate-movie tropes.

    7 Id. Like Pirates of the Caribbean’s influence on current pirate-movie tropes, the
    8 1986 Film, exploiting Yonay’s Story, pioneered contemporary action films. PPC
    9 relies heavily on arguments that the Sequel’s similarities to the Story launching
   10 Top Gun are mere scènes à faire, Mot. at 11, 13-16, 20-21, but considering the
   11 landscape-altering success of that Film, PPC has no basis to assert that which
   12 now may be considered “tropes” was not originally conceived by the Story and
   13 Film adapting it. Such decisions require expert evidence and pose questions of
   14 fact not properly decided at the pleading stage when “all facts and inferences”
   15 must be drawn “in favor of the nonmoving party.” Marder, 450 F.3d at 448.

   16               3.     Yonay’s Creative Expression, Selection and Arrangement
                           Must Be Considered in the Extrinsic Analysis.
   17
   18        While bare facts themselves are not subject to copyright (see e.g., Feist
   19 Publications, Inc. v. Rural Tel. Serv. Co., 499 U.S. 340, 344-45 (1991) (phone

   20 numbers not copyrightable)), the selection and arrangement of facts and the
   21 expression of those facts are indisputably protected. Satava v. Lowry, 323 F.3d
   22 805, 811 (9th Cir. 2003). Indeed, PPC acknowledges this, see Mot. at 15 (citing
   23 Corbello, 974 F.3d at 977 (“creative expression that is in the Work—the ‘writing
   24 style and presentation’—is protected”)), but then ignores the point.
   25        As recognized in Metcalf, “[t]he particular sequence in which an author
   26 strings a significant number of unprotectable elements can” itself satisfy the
   27 extrinsic test. 294 F.3d at 1073-74. Thus, even where shared elements are “not
   28 protectable,” a court cannot dismiss if the “original selection, coordination, and
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    1 arrangement of such elements is protectable.” L.A.Printex, 676 F.3d at 850.
    2         The finder of fact must first assess whether a plaintiff’s original selection
    3 and arrangement of all elements supports substantial similarity without

    4 preemptively filtering out elements deemed “unprotectable.” This step is
    5 mandatory in any case where, as here, a plaintiff asserts “a combination of many
    6 different elements of similarity” as a protectable whole. Nimmer § 13.03 n.25
    7 (emphasis original) (citing Sid & Marty Krofft Television Productions, Inc. v.
    8 McDonald’s Corp., 562 F.2d 1157, 1164 (9th Cir. 1977)). As the Ninth Circuit
    9 has explained, “to disregard” elements as unprotected when performing the
   10 extrinsic test “is to ignore the fact that substantial similarity can be found in a
   11 combination of elements, even if those elements are individually unprotected.”
   12 Swirskey, 376 F.3d at 848; see also Harper & Row v. Nation Enters., 471 U.S.
   13 539, 547 (1985) (“Creation of a nonfiction work, even a compilation of pure
   14 fact, entails originality”); Los Angeles Times v. Free Republic, 2000 WL
   15 565200, at *15 (C.D. Cal. Apr. 4, 2000) (enforcing copyright of nonfiction

   16 work: “a news reporter must determine which facts are significant and recount
   17 them in an interesting and appealing manner”); Keeling v. Hars, 809 F.3d 43,
   18 50-51 (2d Cir. 2015) (“copyright law protects not only the individual elements
   19 themselves, but the creative choices made in selecting and arranging even

   20 uncopyrightable elements”); Corbello v. DeVito, 844 F. Supp. 2d 1136, 1163 (D.
   21 Nev. 2012) (“Non-fiction works are also protected—not the historical facts
   22 themselves, but the creative presentation of those facts.”); Eckes v. Card Prices
   23 Update, 736 F.2d 859, 862 (2d Cir. 1984) (finding catalog of baseball cards
   24 copyright protected: “[w]e have no doubt that appellants exercised selection,
   25 creativity and judgment” when selecting which cards to include).
   26         Nonfiction works require careful extrinsic analysis. For example, the
   27 plaintiff in Jacobsen v. Deseret Book Co., 287 F.3d 936 (10th Cir. 2002)
   28 authored a memoir detailing his time as a prisoner of war in World War II. Id. at
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    1 940. The defendant produced a TV series including a story similar to one
    2 described in plaintiff’s factual memoir. Id. In conducting the extrinsic analysis,
    3 the Tenth Circuit overturned the district court’s grant of a motion to dismiss

    4 noting similarities of factual plot points and some dialogue. The court explained
    5 that, despite being a work of nonfiction, these elements could be “original
    6 expression,” and that this question was for the trier of fact. Id. at 946-47.
    7         Here, proper analysis of the similarities between the Story and the Sequel
    8 necessitates detailed analysis of the creative choices Yonay made in selecting
    9 and arranging his Story—a work that clearly is far more original than a bunch of
   10 facts. For instance, rather than offer an encyclopedic narration of naval base
   11 operations, Yonay chose to focus on the personal backgrounds and
   12 idiosyncrasies of two aspiring trainees, to engage his audience and humanize his
   13 Story.6 Then, by interspersing his Story with exhilarating descriptions of daring
   14 flight maneuvers, Yonay transported the reader into the cockpit with the
   15 characters they are now invested in, greatly heightening a shared sense of

   16 exhilaration and danger.7 Like the Film, the Sequel uses the same approach. Id.
   17 Yonay’s juxtaposition of ethereal descriptions of the sensation of flying, with
   18 intense cinematic action and quiet moments of reflection at the base, which he
   19 romanticizes as a place of 1950s, post-war nostalgia8, rather than a regimented

   20 facility, compelled PPC to purchase the film rights to his Story mere weeks after
   21 its publication. These elements (and many more) comprise creative selections
   22 and arrangements by Yonay in crafting his Story that were later exploited in the
   23 Film and its Sequel. That aspects may be factual or may be viewed today as
   24 scènes à faire are of no import under the “selection and arrangement” analysis.
   25 See Metcalf, 294 F.3d at 1073-74. After purchasing Yonay’s Story, PPC made
   26 obvious use of his creative selection, arrangement, and expression and the
   27   6
        Chart, 1-9, 12-13, 15-16, 18-21, 23-26, 30-33, 36-38, 44, 46-48, 51-52, 56-57, 59-65,
      68, 74-76.
   28 7 Id., 29-31, 33-37, 39-47, 52-55, 66-68, 70.
      8
        Id., 10, 24, 27, 29, 33-36, 39-41, 59, 73; FAC ¶¶ 23, 32.
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    1 similarities are far more than de minimis. Alfred, 821 Fed. Appx. at 729 (motion
    2 to dismiss should be denied when the similarities in selection and arrangement
    3 of even unprotectable elements between the works is more than “de minimis”).

    4                   4.     The Extrinsic Factors Demonstrate Substantial Similarity.

    5            A comprehensive comparison of the extrinsic elements of the Story and
    6 the Sequel plainly evinces substantial similarity. See generally, Chart.
    7            Plot. Both the Story and Sequel make the same creative choice to focus
    8 on the relationship between two jocular pilots at the “Top Gun” training base.9
    9 In both works, the relationship between the two primary characters expands
   10 when they join a crew which, in preparing for battle, evolves into a close-knit,
   11 familial squadron. Id., 12, 62-65. Both introduce a decorated pilot with real
   12 combat experience who is asked to serve as an instructor at Top Gun. Id., 16, 18,
   13 20-21. Both use intergenerational conflict between older, more experienced
   14 pilots who serve as officers or instructors and restless, up-and-coming fighter
   15 pilots to build narrative tension. Id., 8, 14-21, 51. Both portray an Admiral who

   16 disapproves of hotshots and use this as an obstacle to be overcome. Id., 21-22.
   17            Further, both works spend an inordinate amount of time depicting the elite
   18 pilots’ R & R to humanize, make them more relatable, and engage the emotions
   19 of the reader/audience. Id., 59, 61-65. Both extensively depict the softer side of

   20 macho fighter jocks to examine the profundity and complexity of human beings
   21 sent off to war. Indeed, in both works, the intense training is interrupted when
   22 the main character (Sequel) and the squadron (Story) is taken for a surprise ride
   23 on a “glorious” sailboat. Id., 65. Both works use similar expressive plot devices,
   24 including a dartboard as a metaphor for the competitive ranking of pilots. Id., 19.
   25 In the Story, the closer a pilot lands to the bull’s-eye, the greater his ability. Id.
   26 In the Sequel, a pilot is shown landing in the bull’s-eye three darts in a row as a
   27 symbol of his elite status. Id. In both works, the characters frequent a local bar
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            Chart, 1-9, 12-13, 25, 42-44, 48, 52, 57, 61, 68, 74-76.
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    1 that features a good-sized brass bell that is rung only when the “house rules” are
    2 broken by a hapless pilot (e.g., Story: walks in with his hat on; Sequel:
    3 disrespects a lady or puts his cell phone on the bar) at which point he must pay

    4 for everyone’s drinks. Id., 63. In both, the device serves to illustrate the “frat-
    5 boy” subculture of Top Gun fighter pilots, and injects levity. Tellingly, while
    6 nowhere in the 1986 Film, the 2022 Sequel uses this distinctive icebreaking
    7 device three times, underscoring that in producing the Sequel, PPC literally
    8 returned to the Story—the same Story PPC now conveniently hatchets. Id.
    9         The Motion handwaves away all these similarities as “facts” or scènes à
   10 faire, baldly ignoring Yonay’s cinematic expression. The Motion encourages
   11 this Court to ignore the FAC’s literary analysis, blankly denying, e.g., that the
   12 Sequel uses a bull’s-eye as a metaphor. Id., 19; Mot. at 14. Lost on PPC is that
   13 whether a bull’s-eye acts as a metaphor is not a question to be decided on a Rule
   14 12(b)(6) motion, particularly as such things are construed in a light most
   15 favorable to Plaintiffs. Marder, 450 F.3d at 448. Indeed, “plot” is an extrinsic

   16 factor which particularly calls for expert opinion. See Shaw, 919 F.2d at 1358
   17 (finding substantial similarity in part because “the respective plots do parallel
   18 each other,” as expert evidence “illustrate[d] how the plots in both scripts share a
   19 common sequence and rhythm”).

   20         Themes. The Story and Sequel share numerous themes of true grit and
   21 heroism, “Western” gunslinger themes, patriotic American nostalgia, the bonds
   22 that form in war, generational divides, the difficulty in balancing passion, duty
   23 and family, man vs. machine, individualism vs. institutional authority, the need
   24 for speed, the sheer love of flying, and a freedom that can only be found in the
   25 skies. Chart, 14, 52, 75-76. The two works also share a recurring theme that
   26 success in warfare comes down to the pilot, to courage and strength of character,
   27 not the high-tech jet one flies. Id., 14, 76. By their very nature, such themes,
   28 their convergence and qualitative value, in furtherance of both works’ stories
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    1 cannot be discarded as “facts” and require useful analysis by literary experts.
    2            Dialogue. The Sequel employs similar lingo to that in the Story to shape
    3 the mood, setting, and establish the tone. For example, quips in the Story such as

    4 “Fight’s on,” “It’s Miller time,” “shoot off their watches,” “You fight like you
    5 train, so you’d better train like you’re going to fight,” and “I like pulling Gs. I
    6 like strapping on 25 tons of airplane and hustling around the sky” set the tone
    7 which carried through to both the Film and Sequel. Yonay selected such quotes
    8 to further his Story’s themes. For example, “You’re out there supersonic going
    9 from deck to 40,000 feet and back down to the deck, simulating killing people
   10 and getting yourself killed, handling actual emergencies, and when you finally
   11 come in and land you can’t even tell your wife about it,” and “How do you
   12 explain. . . [that] you suddenly weigh more than 1,300? Or how if you pull too
   13 many Gs a lot of times you start to black out, … that you were in an airplane
   14 flying around and you blacked out?” exemplify the difficulty of balancing duty
   15 passion, and family. Further, Yonay’s inclusion of dialogue such as “You wish

   16 you could do it over again ... but in the real world you’re not going to get a
   17 second chance,” “getting shot is synonymous with losing … and dying,”
   18 advances Yonay’s portrayal of Top Gun as a place of intense competition.
   19            Setting. Both the Story and Sequel take place at the Naval Air Station
   20 along the beach in Southern California. Chart, 10-11. Tellingly, the Sequel, set
   21 in the present, maintains this setting even though in “fact,” the actual “Top Gun”
   22 school moved in 1996 to land-locked Fallon, NV. Id., 11. Both works bounce
   23 between intense flying from the pilots’ POV in the cockpit, to quiet moments of
   24 reflection at the base, to the classroom, to R & R at the local bar and at sea.10
   25            Both the Story and Sequel portray the culture at the naval air station as
   26 ultra-competitive, but jovial and collegiate.11 Both stories take place in their
   27 respective present (Story: 1983; Sequel: 2022), but depict the base with 1950s
   28   10
             Id., 27, 29-31, 33-36, 39-41, 52-55, 59, 61-68, 70, 73.
        11
             Id., 3, 5, 7-8, 19, 25-26, 32-33, 56-57, 59-67, 72.
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    1 post-war nostalgia. Id., 10 (“At night the darkened base could be mistaken for an
    2 old From Here to Eternity set, and even earlier in the day, when the base is
    3 bustling, it is enveloped in a time warp of unreality.”), 24, 67. Both emphasize

    4 “Fightertown USA,” which has since become iconic. Id., 9. Both emphasize
    5 similar characteristics of the base (e.g., wooden plaques in a room dedicated to
    6 squadrons, and again, the big brass bell at the local bar). Id., 9, 58-59, 63.
    7            The Motion challenges the FAC using blatantly flawed analysis. “It is
    8 entirely immaterial that, in many respects…works are dissimilar ... If substantial
    9 similarity is found, the defendant will not be immunized from liability by reason
   10 of the addition in his work of different characters or additional and varied
   11 incidents[.]” Nimmer § 13.03[B][1][a] (citing Walt Disney Prods. v. Air Pirates,
   12 581 F.2d 751, 756 (9th Cir. 1978) (characters infringed, even though the stories
   13 differed entirely)). PPC finds fault with Plaintiffs’ allegations because, while
   14 both works share many settings, the Sequel includes two more (the Navy’s
   15 “scramjet” headquarters and an unnamed enemy territory at the end). Mot. at 19.

   16 The Court must not be swayed by the Motion’s erroneous analysis.
   17            Characters. Both Story and Sequel use characters as tools to tell the story
   18 of Top Gun, and explore the themes listed above.12 Both use characters’ playful
   19 nicknames (e.g., Story: “Yogi,” “Possum,” “Heater”; Sequel: “Maverick,”

   20 “Rooster,” “Baby on Board ‘Bob’”) for comic relief. Id., 13. In both works, the
   21 main characters have similar appearances (one, good looking with dark hair, the
   22 other with wavy light brown hair and a mustache). Id., 2. Both depict its lead
   23 character and others as adrenaline-junkies, undeterred, if not invigorated by
   24 danger, to the point of denial.13 Both feature a character that is touted for having
   25 actual combat experience, including famously downing “three MiGs” in one
   26 day, for a total of over five jets shot down—a “five-kill line.” Id., 16-18. Both
   27 portray pilots as audacious cowboys, dueling with slick maneuvers, harkening to
   28   12
             Chart, 1, 8-9, 12, 14, 15-21, 23-27, 30-44, 46-48, 50-57, 59-66, 68, 70-76.
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             Id., 5-6, 25, 30-31, 34-37, 45-47, 51, 54, 60-61, 70.
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    1 “Western” show-downs (Story: “At Mach 2 and 40,000 feet ... it’s always high
    2 noon;” “Yogi and Possum ride shot gun”). Id., 52, 72. “Maverick” itself alludes
    3 to two famous Westerns (1954 and 1993). Both portray Top Gun pilots as elites

    4 with strict codes of honor, but with cool, “macho,” personas. Both portray
    5 similar character motivations, e.g., to be the best, even at great personal expense,
    6 and portray its characters as worthy of admiration and empathy.14 Both works
    7 introduce a rigid Admiral as an antagonist to its hotshot fighter jocks. Id., 20-21.
    8            Sequence of Events/Pacing. Both works juxtapose base, bar, classroom,
    9 sailing, and mission scenes interspersed with intense dramatic flying scenes
   10 throughout.15 Each work employs a non-linear approach to its narrative in the
   11 form of flashbacks and cutaways. Id., 1, 47, 73-74. Such storytelling is used in
   12 both as a literary shortcut to deepen the audience’s understanding of characters’
   13 motivations and to quickly build narrative tension. Notably, the flashbacks in the
   14 Sequel take the audience back to the Film, in which Yonay’s Story was credited.
   15 FAC ¶¶ 2, 33. Both works sequence failed combat maneuvers, portrayed as

   16 edgy, intense, and deadly to build dramatic tension, followed by debriefing and
   17 tactical analysis in the classroom. Chart, 27, 73. This alternation in sequencing
   18 allows each work to maintain an action-packed pace and remain engaging while
   19 portraying dryer details necessary to the stories. Similarly, both works feature

   20 “dog fights” between the pilots throughout their training, which are portrayed as
   21 fierce, but tempered by collegial team spirit. Id., 33, 39-44, 48, 52, 59, 61-65.
   22 Both works intersperse high-tension aerial action sequences with R & R scenes
   23 at the pilots’ favorite bar and elsewhere. Id. For instance, in both, the action is
   24 interrupted when the squadron (Story) and the main character (Sequel) is taken
   25 for a surprise ride on a beautiful sailing yacht. Id., 65. Again, like the tell-tale
   26 ringing of a brass bell at the pilots’ favorite bar, this unusual Story element
   27 appears in the Sequel, but is not in the 1986 Film. Id. Both works climax with
   28   14
             Id., 3-5, 7-8, 14, 25-26, 31, 38, 46-47, 61.
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             Id., 27, 33-34, 39-44, 58-59, 61-65, 73.
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    1 the primary characters departing Top Gun for real-world flight missions.
    2        Mood. Both works emphasize and juxtapose the ethereal beauty of blue
    3 skies and ocean against jarring, unpredictable action. Id., 29, 34, 39-44, 73. In

    4 both, the mood in aerial combat training is portrayed as intensely competitive,
    5 with characters crestfallen when they are “shot down” despite it being just a
    6 training exercise. Id., 26-27. An urgent tone is also prevalent in both, as each
    7 portrays their training as vital to American national security. Id., 22. In both,
    8 tension is also built by portraying the pilots as under intense time pressures,
    9 exacerbated when botched training exercises lead to setbacks. Id., 48. To relieve
   10 this tension, the mood in both works is regularly broken by tender, playful,
   11 collegiate and jocular scenes. Id., 33, 59-65, 73. In both, even a dangerous
   12 encounter with an enemy aircraft is depicted with playful cheekiness. Id., 68.
   13        Totality of Similarities. “[T]he totality of the similarities” across the
   14 extrinsic factors “goes beyond the necessities of the” works’ general ideas, and
   15 “extends to elements of protected expression[.]” Shaw, 919 F.2d at 1363; accord

   16 Metcalf, 294 F.3d at 1074 (“cumulative weight” of similar elements precludes
   17 judgment as a matter of law under extrinsic test). PPC’s mischaracterizes these
   18 as “random similarities” to minimize the works’ quite substantial similarities.
   19 PPC endeavors to shift the analysis away from these similarities by highlighting

   20 the works’ differences. But, at minimum, the significant overlap between the
   21 works, described here and in the FAC, sufficiently pleads substantial similarity.
   22        The law is clear that “[e]ven if a copied portion be relatively small in
   23 proportion to the entire work, if qualitatively important, the finder of fact may
   24 properly find substantial similarity.” Baxter, 812 F.2d at 425. “[N]o plagiarist
   25 can excuse the wrong by showing how much of his work he did not pirate.”
   26 Esplanade Prods., Inc. v. Walt Disney Co., 768 Fed. Appx. 732, 733 (9th Cir.
   27 2019)). PPC “ignores the fundamental notion that no bright line rule exists as to
   28 what quantum of similarity” constitutes “substantial similarity.” Id. For instance,
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    1 Shaw’s extrinsic analysis “reveal[ed] significant similarities and differences,”
    2 yet differences did not justify summary judgment. 919 F.2d at 1357-58. The
    3 presence of shared elements meant “reasonable minds might differ as to []

    4 substantial similarity,” despite “dissimilarities.” Id. Courts must not “ma[k]e
    5 [such] subjective determination[s]” of similarity, which usurp the role of the
    6 “reasonable juror.” Id. Faced with complex “[d]eterminations of substantial
    7 similarity of expression,” courts must consider how reasonable minds might
    8 differ on myriad points of comparison. Baxter, 812 F.2d at 424. Here, the Sequel
    9 undeniably borrows from the Story’s setting, themes sequencing, aerial action
   10 scenes, plot devices, and primary character traits. FAC, Ex. 1. On a 12(b)(6)
   11 motion, the Court should resolve such literary disputes in Plaintiffs’ favor. See
   12 e.g., Jones, 2021 WL 6752228, at *2, 6. PPC’s attempt to distract from these
   13 foundational similarities by focusing on differences must fail.
   14        In short, because the similarities here are far more than de minimis, the
   15 motion to dismiss must be denied. Alfred, 821 Fed. Appx. at 729; Jones, 2021

   16 WL 6752228, at *6 (reasoning, in denying 12(b)(6) motion that, considered
   17 together, “[t]he plot sequencing of both works revolve around similar character
   18 relationships and there are several shared elements of theme, setting, and pace”
   19 such that “reasonable minds [can] differ on the issue of substantial similarity”).

   20        D.     PPC’s Conduct is Inequitable and Contravenes Federal Policy.

   21               1.     PPC Attempts to Circumvent the Copyright Act.

   22        The 1983 Agreement (drafted by PPC) which assigned to it exclusive film
   23 rights to the Story, repeatedly refers to and acknowledges its “copyright,” and
   24 that the “work is wholly original with the Author.” FAC ¶ 23, Ex. 2. Under it,
   25 PPC acquired that copyright, such that Yonay could no longer exploit it. Id.
   26 After decades of prospering from exclusive film rights to the Story, PPC should
   27 not be heard to complain that it is just a bunch of “unprotectable facts.” If that
   28 were true why did PPC insist on purchasing the Story and benefit from such
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    1 exclusivity for three decades? Moreover, in giving Yonay’s Story credit on the
    2 resulting Film, PPC admitted that Top Gun “substantially incorporate[ed] the
    3 plot, theme, characterizations, motive and treatment of said [Story.]” Id., Ex. 2 at

    4 ¶ 7(b). As the Sequel, in turn, incorporates these elements from the Film, PPC
    5 cannot plausibly argue that the Sequel does not exploit these Story elements.
    6            PPC’s two-faced stance and hardball tactics directly flout the legislative
    7 purpose of the Act’s termination provisions. 17 U.S.C. § 203(a). Section 203
    8 which empowers authors or their families to recover the copyright to their works
    9 after 35 years “was expressly intended to relieve authors of the consequences of
   10 ill-advised and unremunerative grants that had been made before the author had
   11 a fair opportunity to appreciate the true value of his work product.” Mills Music,
   12 Inc. v. Snyder, 469 U.S. 153, 172-73 (1985). Section 203 was “designed to
   13 ‘safeguard[] authors against unremunerative transfers ... needed because of the
   14 unequal bargaining position of authors, resulting in part from the impossibility
   15 of determining a work’s value until it has been exploited.’” Ray Charles Found.

   16 v. Robinson, 795 F.3d 1109, 1112 (9th Cir. 2015) (quoting H.R. Rep. No. 94-
   17 1476, at 124 (1976) and citing 3 Nimmer § 11.07[E][4][b] (2014) (Section 203
   18 was intended to protect “authors and their spouses, children, and grandchildren
   19 against unremunerative transfers and improve their bargaining position.”)).

   20 Section 203 reflects a deliberate balance of competing interests determined by
   21 Congress.16 Yet PPC ignored the Yonays, and hired expensive counsel to
   22 dismantle the Story’s copyright it benefitted from. PPC’s conduct, which runs
   23 afoul of the Act and equitable notions of fair play, should not be rewarded.
   24                   2.     PPC Is Estopped from Challenging the Story’s Copyright.

   25            Licensee estoppel—the doctrine which prevents a licensee such as PPC,
   26
        16
             For example, the Act gives terminated grantees, like PPC, an exclusive window of at
   27 least two years to reacquire a recaptured U.S. copyright. See 17 U.S.C. § 203(a)(4)(A),
        (b)(4); Nimmer § 11.08[A], n.6. Moreover, because the terminated grantee, retains all
   28 foreign rights to the work, Nimmer § 11.02[B][2], such reacquisition on terms which
        more fairly reflect a work’s proven value, is the unsurprising norm.
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    1 from challenging the validity of a copyright it licensed—applied broadly to
    2 patent, copyright, and trademark until 1969, when the doctrine was overturned
    3 as to patents in Lear v. Adkins, 395 U.S. 653 (1969). Largely a policy decision,

    4 Lear held that the policies guiding federal patent law trump estoppel principles.
    5 Id. at 674. Disagreement ensued as to whether Lear applied more broadly to
    6 copyright cases. The Seventh Circuit upheld the application of licensee estoppel
    7 to copyrights, in part, because policy concerns over an invalid patent monopoly
    8 far outweigh those with copyrights. Saturday Evening Post Co. v. Rumbleseat
    9 Press, Inc., 816 F.2d 1191, 1199-1200 (7th Cir. 1987). The Seventh Circuit
   10 distinguished Lear as “narrowly written” and ruled that licensee estoppel “is apt
   11 to have a broader effect.” Id. at 1200.17 The Ninth Circuit has specifically
   12 reserved judgment on this question, and copyright licensee estoppel is an issue
   13 of first impression in this district. See Twin Books Corp. v. Walt Disney Co., 83
   14 F.3d 1162, 1168 (9th Cir. 1996) (in reversing on other grounds, “we do not reach
   15 the issue[] of whether … the doctrine of licensee estoppel applies in a copyright

   16 case.”). Here, given the clear federal policy that terminations under the Act are
   17 intended to result in renewed licenses that better reflect a work’s value (once it is
   18 no longer conjectural), the doctrine of licensee estoppel should be enforced.
   19 Mills Music, Inc., 469 U.S. at 172-73; H.R. Rep. No. 94-1476, at 124 (1976). If,

   20 in the face of statutory termination, a licensee is permitted to gut the very
   21 copyright it coveted, the equitable benefits intended by Congress would vanish.
   22            E.    Plaintiffs’ Breach of Contract Claim is Properly Pled.

   23            Resolution of a contractual dispute on a motion to dismiss is proper only
   24 if the terms of the contract are unambiguous. See Alta Devices, Inc. v. L.G.
   25 Elecs., Inc., 343 F. Supp. 3d 868, 878 (N.D. Cal. 2018) (denying motion to
   26 dismiss) (citing Bedrosian v. Tenet Healthcare Corp., 208 F.3d 220 (9th Cir.
   27
        17
             See also Martha Graham Sch. & Dance Found., Inc. v. Martha Graham Ctr. of
   28 Contemporary Dance, Inc., 153 F. Supp. 2d 512, 520 (S.D.N.Y. 2001) (“licensee
        estoppel is ‘equitable in nature’ and is ‘not subject to rigid application’”).
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    1 2000)). On a motion to dismiss, the Court must further “strive to resolve any
    2 contractual ambiguities in the [non-moving party’s] favor.” Banc of California
    3 Nat’l Ass’n v. Fed. Ins. Co., 2020 WL 3655500, at *4 (C.D. Cal. Apr. 24, 2020)

    4 (denying motion to dismiss because “either way, the provision is capable of at
    5 least two reasonable interpretations”). “Where the language ‘leaves doubt as to
    6 the parties’ intent,’ the motion to dismiss must be denied.” Monaco v. Bear
    7 Stearns Resid. Mortg. Corp., 554 F. Supp. 2d 1034, 1040 (C.D. Cal. 2008)
    8 (quoting Consul Ltd. v. Solide Enters., Inc., 802 F.2d 1143, 1149 (9th Cir.
    9 1986)). At issue is Paragraph 7(b) of the 1983 Agreement requiring PPC:
   10        to announce on the film of any motion picture photoplay that may be
             produced by it hereunder and substantially based upon or adapted
   11        from said [Story] or any version or adaptation thereof, substantially
             incorporating the plot, theme, characterizations, motive and
   12        treatment of said [Story] or any version or adaptation thereof, that
             said motion picture photoplay is based upon or adapted from or
   13        suggested by a work written by the Author, or words to that effect[.]
   14 FAC, Ex. 2 at ¶ 7(b) (emphasis added). The Film was unquestionably “based
   15 upon or adapted from the [Story] or any ... adaptation thereof” (i.e., the Film’s

   16 screenplay), and “substantially incorporat[ed] the plot, theme, characterizations,
   17 motive and treatment” thereof. In accordance with Paragraph 7(b) and in
   18 acknowledgement of its satisfaction, PPC gave Yonay and his Story credit on
   19 the Film. FAC ¶ 33. In turn, because the Sequel qualifies as an “adaptation” of

   20 the Film, “substantially incorporating” its elements, PPC breached Paragraph
   21 7(b) by failing to accord Yonay credit on the Sequel. Id. ¶¶ 51-53.
   22        PPC now argues that Paragraph 7(b)’s credit requirement “on the film of
   23 any motion picture photoplay that may be produced by it hereunder and
   24 substantially based upon or adapted from [the Story] or any version or
   25 adaptation thereof” prescribes two independent conditions before PPC’s
   26 obligation arises. Mot. at 24. PPC asserts that “produced by it hereunder,” means
   27 first the film must be produced under the Agreement and second, it must be
   28 “substantially based on or adapted from the Story or any version or adaptation
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    1 thereof.” Id. PPC indulges in this tortured interpretation to argue that (1) the
    2 Sequel was not “produced” under the Agreement, alleging that PPC held no
    3 rights under it due to Plaintiffs’ statutory termination, and (2) the Sequel did not

    4 use any “protectable expression” from the Story. None of this passes muster.
    5        First, the phrase “produced ... hereunder and substantially based upon or
    6 adapted from [the Story]” does not impose, nor was it intended to impose, two
    7 distinct conditions, as the phrase is a hendiadys; the two are part and parcel of
    8 the same thing. In other words, if a PPC film were “substantially based upon”
    9 the Story, it would have been produced under PPC’s Agreement licensing film
   10 rights to the Story. The reasonable interpretation is that the conjunctive “and”
   11 (doubly bolded in the Motion and on which PPC bases its entire argument)
   12 connotes that the second part of the phrase is a descriptive continuation of the
   13 first part. At minimum, the differing interpretations of these portions of the
   14 Agreement create an ambiguity that cannot be decided on a motion to dismiss.
   15        Second, even under PPC’s erroneous interpretation, its argument fails.
   16 Because the Copyright Act has no extraterritorial application, PPC retained its
   17 rights under the Agreement to exploit the Story in all foreign territories
   18 notwithstanding Plaintiffs’ statutory termination, and distributes the Sequel
   19 overseas. Update Art, Inc. v. Modiin Pub., Ltd., 843 F.2d 67, 72 (2d Cir. 1988)

   20 FAC ¶¶ 19-20. PPC also insists the Sequel was “sufficiently completed” before
   21 the termination date, such that PPC is estopped from making this argument. FAC
   22 ¶ 40. Lastly, the contract questions under Paragraph 7(b) is not whether the
   23 Sequel used “protectable expression” from the Story but rather, (a) whether the
   24 Film is “adapt[ed]” from the Story and (b) whether the Sequel incorporated the
   25 Film’s enumerated elements. Both are readily answered in the affirmative.
   26   V.   CONCLUSION
   27        For these reasons, PPC’s Motion must be denied as to Counts I, II, and III.
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    1 DATED: October 12, 2022             Respectfully submitted,
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    3                                     By: /s/ Marc Toberoff          .
    4                                           Marc Toberoff
    5                                     Attorneys for Plaintiffs
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